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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                        :
                                                :
                v.                              :       Case No. 21-CR-175 (TJK)
                                                :
ETHAN NORDEAN,                                  :
JOSEPH R. BIGGS,                                :
ZACHARY REHL,                                   :
ENRIQUE TARRIO, and                             :
DOMINIC J. PEZZOLA,                             :
                                                :
                        Defendants.             :


                          JOINT PROPOSED JURY INSTRUCTIONS

        Pursuant to the Court’s Consolidated Pretrial Order (ECF No. 426), the parties hereby

jointly propose the following final jury instructions, subject to issues that arise during trial 1 .

        1. Furnishing the Jury with a Copy of the Instructions, Redbook 2.100

        2. Function of the Court, Redbook 2.101

        3. Function of the Jury, Redbook 2.102

        4. Jury’s Recollection Controls, Redbook 2.103

        5. Evidence in the Case, Redbook 2.104

        6. Statements of Counsel, Redbook 2.105



1
  The parties reserve the right to supplement, amend, or modify proposed jury instructions subject
to testimony and evidence admitted at trial. In this document, the parties have highlighted areas
of disagreement. Yellow generally refers to disagreements about text within a paragraph. Green
refers to a government-proposed paragraph to which the defense objects. Blue refers to a defense-
proposed paragraph to which the government objects. Purple refers to suggested additions or
deletions, suggested by defendant Rehl on November 2, 2022, to which the government objects.
The government submits that it is open to additional meeting and conferring that was not possible
with the timing of that submission.


                                                    1
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      7. Burden of Proof—Presumption of Innocence, Redbook 2.107

      8. Reasonable Doubt, Redbook 2.108

      9. Direct and Circumstantial Evidence, Redbook 2.109

      10. Nature of Charges Not To Be Considered, Redbook 2.110

      11. Number of Witnesses, Redbook 2.111

      12. Inadmissible and Stricken Evidence, Redbook 2.112

      13. Credibility of Witnesses, Redbook 2.200

      14. Accomplice’s Testimony, Redbook 2.202

      15. Witness With a Plea Agreement, Redbook 2.203

      16. Police Officer’s Testimony, Redbook 2.207 [include “agents’ testimony”]

      17. Right of Defendant Not to Testify, Redbook 2.208

      18. Defendant As Witness, Redbook 2.209 (if applicable)

      19. False or Inconsistent Statement by Defendant, Redbook 2.210 (if applicable)

      20. Character of Defendant, Redbook 2.213 (if applicable)

      21. Specialized Opinion Testimony, Redbook 2.215

      22. Summary Witness Testimony [see proposal below] 2

      23. Evaluation of Prior Inconsistent Statement of a Witness, Redbook 2.216 (if applicable)

      24. Evaluation of Prior Consistent Statement of a Witness, Redbook 2.217 (if applicable)

      25. Impeachment by Proof of Conviction of a Crime, Redbook 2.218 (if applicable)

      26. Evidence Admitted Against One Defendant Only, Redbook 2.308

      27. Transcripts of Tape Recordings, Redbook 2.310



2
       The defense objects to any evidence of this type being admitted. If the evidence is
admitted over objection, the defense does not object to the proposed obstruction.



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      28. Other Acts Evidence [see proposal below] 3

      29. Multiple Defendants—Multiple Counts, Redbook 2.404

      30. Organization and Persons Not Present [see proposal below] 4

      31. Unanimity—General, Redbook 2.405

      32. Verdict Form Explanation, Redbook 2.407

      33. Proof of State of Mind, Redbook 3.101 [with dual-purpose intent instruction appended;

          see proposal below]

      34. Proof of “On or About,” Redbook 3.103

      35. Summary of Indictment [see proposal below]

      36. Conspiracy, Generally [see proposal below]

             a. Definition of conspiracy

             b. Existence of conspiracy

             c. Success is irrelevant

             d. “Knowing,” “intentionally,” and “unlawfully”

             e. Duration and extent of the defendant’s participation

             f. Termination of a conspiracy

      37. Count One, Seditious Conspiracy, 18 U.S.C. § 2384 [see proposal below]

             a. Elements

             b. Unanimity




3
       The defense objects to any evidence of this type being admitted. If the evidence is
admitted over objection, the defense does not object to the proposed obstruction.
4
       The defense objects to any evidence of this type being admitted. If the evidence is
admitted over objection, the defense does not object to the proposed instruction.



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       c. Definitions

38. Count Two, Conspiracy to Obstruct an Official Proceeding, 18 U.S.C. § 1512(k) [see

   proposal below]

       a. Elements

39. Count Four, Conspiracy to Prevent Members of Congress from Discharging Their

   Duties, 18 U.S.C. § 372 [see proposal below]

       a. Elements

40. Theories of Liability [see proposals below]

       a. Willfully Causing an Act to be Done

       b. Attempt

       c. Aiding and Abetting

       d. Co-Conspirator Liability

41. Count Three, Obstruction of an Official Proceeding, 18 U.S.C. § 1512(c)(2) [see
    proposal below]
       a. Order of Consideration

       b. Elements

       c. Definitions

42. Count Five, Interference with Officers During a Civil Disorder, 18 U.S.C. § 231 [see

   proposal below]

       a. Order of Consideration

       b. Elements

       c. Definitions

43. Counts Six and Seven, Destruction of Government Property, 18 U.S.C. § 1361 [see

   proposal below]




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                 a. Order of Considering Charges

                 b. Elements

                 c. Definitions

                 d. Lesser-Included Offense

          44. Counts Eight and Nine, Assaulting, Resisting, or Impeding Certain Officers, 18 U.S.C.

             § 111(a)(1) [see proposal below]

                 a. Elements

                 b. Unanimity

          45. Count Ten, Robbery of Personal Property of the United States, 18 U.S.C. § 2112 [see

             proposal below]

                 a. Order of Consideration

                 b. Elements

                 c. Definitions

          46. Venue5

          47. First Amendment6

          48. Redacted Documents and Tapes, Redbook 2.500

          49. Exhibits During Deliberations, Redbook 2.501

          50. Selection of Foreperson, Redbook 2.502

          51. Possible Punishment Not Relevant, Redbook 2.505

          52. Cautionary Instruction on Publicity, Communication, and Research, Redbook 2.508

          53. Communication Between Court and Jury During Jury’s Deliberations, Redbook 2.509



5
    The government objects to the inclusion of this instruction.
6
    The government objects to the inclusion of this instruction.


                                                   5
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54. Attitude and Conduct of Jurors in Deliberations, Redbook 2.510

55. Excusing Alternate Jurors, Redbook 2.511




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                   [22] Proposed Instruction for Summary Witness Testimony7

         The testimony of [witness name] about [specific topic] is only an aid in evaluating

evidence.

                                      [28] Other Acts Evidence8

         You have heard evidence about other alleged acts of the defendants with which they are

not charged in the indictment. Specifically, the government presented evidence:

         (1) That [summary of evidence].          This evidence was offered to prove [motive,

             opportunity, intent, preparation, plan, knowledge, identity, absence of mistake, or lack

             of accident]

         (2) [same]

         You must decide whether this evidence is true. If you decide it is not true, ignore it. If

you decide it is true, you may only use it for the purposes I have mentioned. You may not use the

evidence to infer that the defendants had a predisposition to engage in criminal conduct, or that it

is more likely that, because the defendants may have engaged in other acts, that they committed

the offenses charged in the indictment in this case. The law does not allow you to convict a

defendant simply because you believe he may have done other things, even bad things, not

specifically charged as crimes in this case.




7
    The defense objects to the inclusion of this instruction.
8
 United States v. Brown, 597 F.3d 399, 403 (D.C. Cir. 2010); United States v. Gaviria, 116 F.3d
1498, 1532-33 (D.C. Cir. 1997); United States v. Abou-Khatwa, 40 F.4th 666, 683-84 (D.C. Cir.
2022); Redbook, 2.321 (Other Crimes Evidence).



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               [30] Proposed Instruction for Organization and Persons Not Present 9

          The Proud Boys organization is not a defendant in this case, and the defendants are not on

trial for having knowledge of, or being associated with, the Proud Boys organization.

          In our system of justice, guilt or innocence is personal and individual and you should not

make any inferences or speculate about other individuals you have heard about in this trial or

whether they have been charged with crimes. I have decided which defendants will stand trial

together and at which time. The only issue for you to decide is whether the government has

proved each of these defendants guilty beyond a reasonable doubt. You may not find the

defendants guilty of a conspiracy merely because they belong to the Proud Boys organization.

The fact that the defendants belong to the Proud Boys organization is not itself evidence of a

conspiracy, as I later define that crime to you. 10




9
     First paragraph: United States v. Celis, 608 F.3d 818, 845 (D.C. Cir. 2010).

Second paragraph: United States v. Moon, 625 F. App’x 136, 139 (3d Cir. 2015), judgment vacated
on other grounds, 577 U.S. 1232 (2016) (do not speculate as to a putative co-defendant’s absence);
Third Circuit Model Jury Instruction 3.13 (guilt is personal and individual); United States v. Jones,
566 F.3d 353, 358 (3d Cir. 2009) (endorsed instruction to jury panel to not speculate as to why
defendant was on trial alone); see also United States v. Bailey, 319 F.3d 514, 519 (D.C. Cir. 2003)
(with respect to Rule 404(b) crimes, court can instruct jury that defendant has not yet been tried
for those crimes); United States v. Quattlebaum, 540 F. Supp. 2d 1, 8 (D.D.C. 2008) (instructing
jury that judge has already determined something as a matter of law).
10
  The government objects to the highlighted language. If the Court is inclined to give it, the
government requests that the Court also instruct the jury on the appropriate use of evidence of
connection between the conspirators.


                                                      8
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                                   [33] Proof of State of Mind11

        Someone’s intent or knowledge ordinarily cannot be proved directly, because there is no

way of knowing what a person is actually thinking, but you may infer someone’s intent or

knowledge from the surrounding circumstances. You may consider any statement made or acts

done by the defendant, and all other facts and circumstances received in evidence which indicate

his or her intent or knowledge.

        You may infer, but are not required to infer, that a person intends the natural and probable

consequences of acts he or she intentionally did or intentionally did not do. It is entirely up to

you, however, to decide what facts to find from the evidence received during this trial. You

should consider all the circumstances in evidence that you think are relevant in determining

whether the government has proved beyond a reasonable doubt that the defendant acted with the

necessary state of mind.

        While a defendant must act with the intent as I describe below for each charged crime, this

need not be the defendant’s sole purpose. A defendant’s unlawful intent is not negated by the

simultaneous presence of another purpose for the defendant’s conduct. 12




11
  Redbook 3.101 (first two paragraphs); United States v. Erik Herrera, 21-cr-619-BAH, ECF No.
65 (D.D.C. Aug. 18, 2022) (dual-purpose intent).
12
   The defense objects to the inclusion of the highlighted language. Defense position: this language
appears to be drawn from an unpublished decision. It should not be included because, among other
reasons, it presents an overdetermination problem. If a mens rea and a lawful purpose are distinct
sufficient causes of an act, the jury cannot conclude that either is a sufficient condition for the act.
Thus, a jury could find guilt based on a lawful purpose. Government position: the jury will be
instructed that they must find the proper mens rea in order to convict. This proposed instruction
simply clarifies that so long as one has the proper mens rea, any additional motivations do not
serve to negate that mens rea.



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                                   [35] Summary of Indictment13

          With these preliminary instructions in mind, let us turn to the charges against the

defendants, as contained in the indictment. The indictment itself is not evidence. It merely

describes the charges made against each defendant and is the means by which each defendant was

formally notified of the charges against him or her. The indictment is merely an accusation. It

may not be considered by you as evidence of the guilt of any defendant, and you must not draw

any inference of guilt from it.

          The indictment in this case contains conspiracy charges and other charges. The indictment

alleges that the defendants violated three separate conspiracy laws. The first conspiracy charge

is Count One, seditious conspiracy, which charges that the defendants entered an agreement to try

to stop the lawful transfer of power by opposing by force the authority of the Government of the

United States, or14 to use force to prevent, hinder, and delay the execution of any law of the United

States.     The second conspiracy charge is Count Two, conspiracy to obstruct an official

proceeding, which charges that the defendants entered an agreement to corruptly obstruct an

official proceeding, that is, Congress’s session on January 6, 2021, to certify the Electoral College

votes. 15 And the third conspiracy charge is Count Four, conspiracy to prevent Members of




13
   Redbook 2.106 (Indictment Not Evidence); United States v. Abdel Rahman, No. 1:93-cr-181
(S.D.N.Y. Mar. 17, 1993); United States v. Gayle, No. 7:16-cr-361 (CS), ECF No. 158 (S.D.N.Y.
Aug. 7, 2017).
14
     The defense submits that this should read “and.”
15
     The defense objects to the inclusion of the highlighted language.



                                                  10
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Congress16 and law enforcement officers from discharging their duties by force, intimidation, or

threats. With regard to the other charges:

         -       Count Three of the indictment charges each of the five defendants with obstruction

of an official proceeding, meaning Congress’s session on January 6 to certify the Electoral College

votes.17

         -       Count Five charges each of the five defendants with committing an act to obstruct,

impede, or interfere with law enforcement officers lawfully carrying out their official duties

incident to a civil disorder, for interfering with police officers at the Capitol on January 6.

         -       Counts Six and Seven charge each of the five defendants with destruction of

government property, for the destruction of a black metal fence and a window of the U.S. Capitol

on January 6.

         -       Counts Eight and Nine charge each of the defendants with forcibly assaulting,

resisting, opposing, impeding, intimidating, or interfering with 18 law enforcement officers at the

Capitol on January 6.

         -       Count Ten charges defendant Dominic Pezzola with robbery of personal property

of the United States.




16
  The defense submits that the term used here should be “federal officers,” and not “Members of
Congress.”
17
     The defense objects to the inclusion of this language.
18
      The defense objects to the inclusion of the highlighted language.



                                                  11
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                       [36] Proposed Instruction for Conspiracy Counts 19

       The law of conspiracy that I am about to explain to you applies to Count One, charging the

defendants with seditious conspiracy; Count Two, charging the defendants with conspiracy to

obstruct an official proceeding; and Count Four, charging the defendants with conspiracy to

prevent Members of Congress 20 and law enforcement from discharging their duties. I will

instruct you as to each of those offenses, but first I will instruct you as to certain principles about

conspiracies that apply to all three of these offenses.

       Definition of conspiracy

       A conspiracy is simply an agreement by two or more persons to join together to accomplish

some unlawful purpose.

       To sustain its burden of proof with respect to each of the offenses charged in Counts One,

Two, and Four—seditious conspiracy, conspiracy to obstruct an official proceeding, and

conspiracy to prevent Members of Congress21 and law enforcement officers from discharging their

duties—the government must prove beyond a reasonable doubt the following two elements:

       First, the existence of the charged conspiracy—that is, the existence of an agreement or

understanding to commit the unlawful object of such conspiracy; and



19
  Adapted from United States v. Treadwell, 760 F.2d 327, 336 (D.C. Cir. 1985); United States v.
Abdel Rahman, No. 1:93-cr-181 (S.D.N.Y. Mar. 17, 1993); United States v. Gayle, No. 7:16-cr-
361 (CS), ECF No. 158 (S.D.N.Y. Aug. 7, 2017); Thompson v. Trump, No. 21-cv-400 (APM),
2022 WL 503384, at *33 (D.D.C. Feb. 18, 2022); Redbook 7.102 (Conspiracy Basic Instruction);
Redbook 7.1203 (Co-conspirator Liability); Third Circuit Model Criminal Jury Instruction 7.03
(2021); Seventh Circuit Federal Criminal Jury Instruction 5.08 (2020).
20
   The defense submits that the language here should read, “federal officers,” and not “Members
of Congress.”
21
   The defense submits that the language here should read, “federal officers,” and not “Members
of Congress.”



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       [Government Proposal: Second, that each defendant knowingly became a member of the

conspiracy, with intent to achieve the unlawful object of the charged conspiracy.] 22

       [Defense Proposal: Second, that each defendant you are considering joined in that

agreement with knowledge of its unlawful goals and intending to join together with at least one

other alleged conspirator to achieve those objectives.]

       Now I will separately discuss each of these elements.

                                      Existence of a conspiracy

       The government has charged three conspiracies in this case. To find a defendant guilty of

any [a particular] conspiracy charge, the government must prove beyond a reasonable doubt the

elements of that particular conspiracy, which I will instruct you on in a little bit.

       The government may satisfy that burden for each charged conspiracy, some portion of

them, or none of them. That is for you to determine. To show that a conspiracy existed, the

evidence must show beyond a reasonable doubt that two or more persons in some way or manner,

either explicitly or implicitly, came to an understanding to accomplish an unlawful objective.

       To find a defendant guilty of a particular conspiracy, the government must satisfy that

burden for that particular conspiracy.        Each conspiracy is separate and distinct and the

government’s burden beyond a reasonable doubt applies to each conspiracy and to each defendant

separately and distinctly. Whether the government has satisfied its burden as to each conspiracy

and each defendant, is for you to determine. To show that a conspiracy existed, the evidence must

show beyond a reasonable doubt that two or more persons in some way or manner, either explicitly

or implicitly, came to an understanding to accomplish an unlawful objective.




22
  Throughout this joint proposal, where the parties submit dueling proposals, the government’s
proposal is highlighted in green and the defense proposal is highlighted in blue.


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       In determining whether there has been an unlawful agreement as alleged in the indictment,

you may consider the actions of all the alleged co-conspirators that were taken to carry out the

apparent criminal purpose. The only evidence that may be available with respect to the existence

of a conspiracy is that of disconnected acts on the part of the alleged individual co-conspirators.

When taken all together and considered as a whole, however, you may conclude—or may not, as

your good judgment dictates—that this evidence warrants the inference that a conspiracy existed

just as conclusively as more direct proof, such as evidence of an express agreement.

       In determining whether there has been an unlawful agreement as the government alleges,

you may consider the actions of all the alleged co-conspirators that were taken to carry out the

apparent criminal purpose but you must first determine that a defendant joined a conspiracy before

you consider the acts or words of other person against the particular defendant. You may not

consider the acts or words of other conspirators against a particular defendant until you have first

determined that the particular defendant agreed to join the unlawful conspiracy.

       To prove the existence of a conspiracy, the government is not required to show that two or

more people sat around a table and entered into a solemn pact, orally or in writing, stating that they

had formed a conspiracy to violate the law and spelling out all the details. Common sense tells

you that when people agree to enter into a criminal conspiracy, much is left to unexpressed

understanding. It is rare that a conspiracy can be proven by direct evidence of an explicit

agreement.23

       [Counsel for Rehl proposes deleting entire preceding paragraph] To prove the existence

of a conspiracy, the government is not required to show that two or more people sat around a table




23
       The defense objects to the inclusion of the highlighted language.



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and entered into a solemn pact, orally or in writing, stating that they had formed a conspiracy to

violate the law and spelling out all the details.

        Success is irrelevant

        It does not matter whether the persons who formed the agreement were ultimately

successful.

        Of course, proof concerning the accomplishment of the object of a conspiracy may be the

most persuasive evidence of the existence of the conspiracy itself. In other words, success in

carrying out an act, if you believe it was carried out, is often the best proof of the agreement—but

as I just said, it is not necessary that a conspiracy actually succeed in its purpose for you to conclude

that it existed.24

        Counsel for Rehl proposes adding the following paragraphs:

        Specific Intent

        While proof of knowing action is generally adequate to support criminal conviction, certain

classes of crimes merit “special attention” to “heightened culpability” where a heightened mental

state separates criminality itself from otherwise innocuous behavior. It is clear that conspiracy is

a “specific intent” crime. The common law definition of conspiracy is a combination of two or

more persons ... to accomplish some criminal or unlawful purpose, or to accomplish some purpose,

not in itself criminal or unlawful, by criminal or unlawful means. Thus, purposeful intent – or



24
        The defense objects to the inclusion of the highlighted language. Defense position: this
instruction improperly advises the jury on the weight it should place on particular types of
evidence. On page 12, the jury is already instructed: “In determining whether there has been an
unlawful agreement as alleged in the indictment, you may consider the actions of all the alleged
co-conspirators that were taken to carry out the apparent criminal purpose” (emphasis added).
The highlighted language both repeats that and goes further, improperly: “No direct evidence of
agreement is the best evidence of agreement.” The government submits that this is a correct
statement of the law and would be helpful to the jury.



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“conscious desire” to achieve a “result” – is the essence of conspiracy. Accordingly, proof of

conspiracy requires proof that each conspirator had the specific intent to further the common

unlawful objective.25

       In a case such as this where political activity within the shadow of the First Amendment is

involved, a strict standard of proof is necessary. Thus, the specific intent of one defendant

cannot be determined by reference to the conduct or statements of another even though he has

knowledge thereof. To find the defendant guilty, you must find clear evidence that the defendant

was engaged in more than political advocacy and he himself had the specific purpose to further

the illegal purpose of the conspiracy. 26

       Alcohol use and drug addiction are not a defense in this case; nor is drug addiction a crime,

nor is use of narcotics by itself a crime. However, since each conspiracy requires proof of specific

intent to commit the conspiracy, if the defendant was so intoxicated or using drugs at times relevant

to the decision-making with respect to the conspiracy that he did not form the specific intent then

the government has not proved that he had the specific intent and, therefore, you must acquit.

Intoxication, by itself, does not relieve a person of responsibility for his acts. However, a person

may be so under the influence of drugs or alcohol that he cannot form the specific intent to

participate in a conspiracy which is a necessary part of the charged conspiracy. If evidence of

intoxication gives you a reasonable doubt about whether the defendant, could or did form the

specific intent to participate in the conspiracy, then you must find him not guilty, because a

necessary element is missing.27


25
       Error! Main Document Only.United States v. Childress, 58 F.3d 693, 707–08 (D.C.
Cir. 1995)
26
       U.S. v. Spock, 416 F.2d 165, 173 (1st Cir. 1969)
27
       Error! Main Document Only.United States v. Sams, 104 F.3d 1407 (D.C. Cir. 1996)


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        “Knowing,” “intentionally,” and “unlawfully”

        If you conclude that the government has proven beyond a reasonable doubt that the

conspiracy you are considering existed, and that the conspiracy had as its object one of the illegal

purposes charged in the indictment, then you must next determine whether the defendant

intentionally participated in that conspiracy with knowledge of its unlawful purposes, and with the

intent to further its unlawful objectives.

        The government must prove beyond a reasonable doubt that the defendant knowingly and

intentionally entered into the conspiracy with criminal intent—that is, with a purpose to violate

the law—and that he agreed to take part in the conspiracy to promote and cooperate in its unlawful

objectives.

        “Unlawfully” simply means contrary to law. A defendant does not need to have known

that he was breaking any particular law, but he must have been aware of the generally unlawful

nature of his acts.28

        The terms “knowingly” and “intentionally” mean that to find that a defendant joined the

conspiracy, you must conclude beyond a reasonable doubt that in doing so, he knew what he was

doing; in other words, that the defendant took the actions in question deliberately and voluntarily.

An act is done “knowingly” and “intentionally” if it is done deliberately and purposely; that is, the

defendant’s acts must have been the product of the defendant’s conscious objective, rather than

the product of a mistake or accident, or mere negligence, or some other innocent reason.



28
        The defense objects to the inclusion of the highlighted language. The Section 2384
conspiracy explicitly requires the government to prove that the defendants conspired to prevent
the execution of federal law. The government’s position is that the defendant does not need to
know which specific statute he is violating, but only that his conduct is unlawful. This instruction
is given in the context of general conspiracy law, not seditious conspiracy specifically, and the
Court will instruct the jury on the requirements for that charge at the appropriate time.


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       You have heard evidence of certain acts and conversations that are alleged to have taken

place with a defendant or while a defendant was listening to, watching, or reading the

conversations or observing the acts. You should not consider this evidence unless you first

determine that the defendant in fact heard, watched, read or observed the particular acts or

conversations and agreed to them. You may, but are not required to, consider this evidence in

determining whether these acts and conversations show beyond a reasonable doubt a defendant’s

knowledge of the unlawful purposes of the conspiracy. You may consider this evidence along

with other evidence in the case and give it as much weight as you think it deserves.

       It is not necessary for the government to show that the defendant was fully informed as to

all the details of the conspiracy for you to infer knowledge on his part. To have guilty knowledge,

the defendant need not know the full extent of the conspiracy or all of the activities of all of its

participants. It is not necessary for the defendant to know every other member of the conspiracy.

In fact, the defendant may know only one other member of the conspiracy and still be a co-

conspirator. It is enough if he participated as a conspirator unlawfully, intentionally, and

knowingly as I have defined those terms.        [Counsel for Rehl proposes replacing preceding

sentence with the following: It is necessary, however, that the Government prove beyond a

reasonable doubt that a defendant was aware of the common purpose of the conspiracy—[insert

the particular purpose of the particular conspiracy]—and that a defendant was a knowing and

voluntary participant in the conspiracy. 29]




29
   Error! Main Document Only.United States v. Childress, 746 F. Supp. 1122, 1129–30
(D.D.C. 1990), aff'd, 58 F.3d 693 (D.C. Cir. 1995)


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       Duration and extent of the defendant’s joining of the agreement

       The duration and extent of the defendant’s joining of the agreement has no bearing on the

issue of the defendant’s guilt. He need not have joined the conspiracy at the outset. With regard

to liability for conspiracy, the defendant may have joined the conspiracy at any time in its progress,

and will still be held responsible for all that was done before he joined, if the government proves

beyond a reasonable doubt that those acts were reasonably foreseeable and within the scope of the

defendant’s agreement, and for all that was done during the conspiracy’s existence while he was a

member. Each member of a conspiracy may perform separate and distinct acts, or no acts at all.

Some conspirators may play major roles, while others play only minor roles in the scheme. An

equal role is not what the law requires, and a defendant does not need perform any specific act

beyond joining the conspiratorial agreement.

       I want to caution you, however, that a person’s mere association with a member of a

conspiracy does not make that person a member of the conspiracy, even when that association is

coupled with knowledge that a conspiracy is taking place. For example, mere presence at the scene

of a crime, even coupled with knowledge that a crime is taking place, is not sufficient to support a

conviction for conspiracy. In other words, knowledge without agreement is not sufficient. What

is necessary is that the defendant has joined the conspiracy with knowledge of its unlawful

purposes and with an intent to aid in the accomplishment of its unlawful objectives. A person may

know, or be friendly with, a conspirator without being a conspirator himself. Mere similarity of

conduct or the fact that persons may have assembled together and discussed common aims and

interests does not necessarily establish membership in a conspiracy.

       I also want to caution you that mere knowledge of or acquiescence to the unlawful plan—

without agreement in it—is not sufficient. Moreover, the fact that the acts of the defendant without




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knowledge merely happened to further the purposes or objectives of the conspiracy, does not make

the defendant a member. More is required under the law. The defendant must have joined the

agreement with knowledge of at least some of the purposes or objectives of the conspiracy and

with the intention of aiding in the accomplishment of those unlawful ends. [Counsel for Rehl

proposes replacing “at least some of the purposes or objectives” with “the common purpose [see

Childress, supra]”]

       In sum, you must find beyond a reasonable doubt that the defendant, with an understanding

of the unlawful nature of the conspiracy, intentionally engaged, advised, or assisted in the

conspiracy for the purpose of furthering an [Rehl proposes “the”] illegal undertaking. The

defendant thereby becomes a knowing and willing participant in the unlawful agreement—that is

to say, a conspirator.

       Termination of a conspiracy

       A conspiracy, once formed, is presumed to continue until either its objective is

accomplished or there is some affirmative act of termination by its members. Similarly, once a

person is found to be a member of a conspiracy, he is presumed to continue his membership in the

venture until its termination.

       It is not essential that the government prove that a particular conspiracy alleged in the

indictment started or ended on any of the specific dates described for that conspiracy. It is

sufficient if you find that the conspiracy was formed and that it existed within the time set forth in

the indictment.




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                      [37] Proposed Instruction for Seditious Conspiracy

                                      [Government Proposal:

Count One of the indictment charges that the defendants participated in a conspiracy to do at least

one of two things: (1) to oppose by force the authority of the Government of the United States, or

(2) to prevent, hinder, or delay the execution of any law of the United States by force.

                                             Elements

       In order to find a defendant guilty of conspiring to oppose by force the authority of the

Government of the United States, or to prevent, hinder, or delay the execution of any law of the

United States by force, you must find that the government proved each of the following two

elements beyond a reasonable doubt:

       First, that the defendant conspired or agreed with at least one other person with the goal of

opposing by force the authority of the Government of the United States, or preventing, hindering,

or delaying the execution of any law of the United States by force.

       Second, that the defendant joined or entered into that agreement with awareness of one or

both of its unlawful goals.

       I have already instructed you generally on conspiracies. But I will now give you additional

instructions specific to the offense of seditious conspiracy charged in Count One.

                    Unanimity as to the Objects or Goals of the Conspiracy 30

       The object of a conspiracy is the illegal goal that the conspirators agree or hope to achieve.

A conspiracy may have more than one object.




30
  United States v. Abdel Rahman, No. 1:93-cr-181 (S.D.N.Y. Mar. 17, 1993); Redbook 2.406
(Unanimity—Special).



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       Count One charges the defendants with conspiring to achieve two separate goals or objects:

opposing the authority of the Government of the United States by force, and preventing, hindering,

or delaying the execution of any law of the United States by force. Although two separate goals of

the conspiracy are charged, you may find the conspiracy proved if it is established that either one

of those goals was agreed to by two or more persons.

       The government is not required to prove both goals of the conspiracy. However, the

government must prove at least one of those two goals beyond a reasonable doubt. If the

government has not proved that at least one of those goals was a goal of the conspiracy charged in

Count One, your verdict must be not guilty.

       As to either or both goals which you may find the conspirators agreed to promote, you must

be unanimous. For example, if some of you find that the conspirators agreed only to oppose by

force the authority of the Government of the United States, and the remaining jurors find that the

conspirators agreed only to prevent, hinder, or delay the execution of any law of the United States

by force, that is not enough. You must be unanimous as to one or the other or both.

                                           Definitions31

       The two goals of the conspiracy charged in the indictment—(1) to oppose by force the

authority of the Government of the United States, and (2) to prevent, hinder, or delay the execution

of any law of the United States by force—both have as a common ingredient the intent to use force

to oppose the United States, functioning through its government. I will now explain these

concepts.




31
  United States v. Abdel Rahman, No. 1:93-cr-181 (S.D.N.Y. 1993); United States v. Rhodes, No.
22-cr-15 (APM), 2022 WL 2315554, at *5-7 (D.D.C. June 28, 2022).


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       To determine whether a defendant conspired to “oppose by force the authority of the United

States,” you must consider whether the defendant agreed to oppose the authority of the United

States and whether that agreement was to do so by force. A conspiracy to oppose the authority of

the United States requires an agreement to commit an act that would adversely affect the ability of

the United States government to govern or perform one of its proper functions. The agreement

must be to resist some positive assertion or actual exercise of authority by the government. An

agreement to merely violate the law is not sufficient. Affecting the ability of the United States

government to govern or to perform one of its proper functions must be a principal purpose of the

member of the conspiracy who intends to commit the act and not merely an incidental effect of an

act that is planned or carried out for another purpose.

       To determine whether the defendants conspired to prevent, hinder, or delay the execution

of any law of the United States by force, you should determine whether they agreed to engage in

conduct for the purpose of preventing, hindering, or delaying the execution of the laws governing

the transfer of presidential power. Those laws include the United States Constitution (specifically

Article II and the Twelfth Amendment) and Title 3, Section 15 of the United States Code. The

Twelfth Amendment to the Constitution provides that the Vice President, as the President of

Senate, must in the presence of the Senate and House of Representatives open all the certificates

for presidential election sent by the Electors to Congress. Title 3, Section 15 of the United States

Code further provides that the Senate and House of Representatives must meet for that purpose at

1 pm on January 6 following a presidential election. Finally, Article II to the United States

Constitution, as amended by the Twelfth Amendment, provides that the person with the greatest

number of votes, after that person takes the required oath, shall become president on January 20.




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       Both goals of the seditious conspiracy require an agreement that physical force would be

used. An agreement to accomplish the goals of the conspiracy by litigation, advocacy, protest, or

deceit is insufficient. Force is defined in the conventional or ordinary sense. An act involves

force if it threatens or results in violence or if it threatens or results in harming or destroying

property or harming or killing people. It is not necessary for the government to show that force

was actually used by the conspirators. Nor is it necessary for the government to prove that the

conspirators agreed as to every detail of how force was to be used, or as to the specific targets of

the use of force. Indeed, just as participants in a legitimate business venture may be unaware of

details or may disagree about details, and still be working together to make a profit, so too

participants in a criminal venture may be unaware of details or disagree about details and still be

working together to further an unlawful purpose. However, the government must prove at least

that the conspirators intended that force would be used.]

                                            [Defense Proposal:

       Count One of the indictment charges that the defendants participated in a conspiracy to:

(1) oppose by force the authority of the Government of the United States, and (2) prevent, hinder,

or delay the execution of any law of the United States by force.

       In order to find a conspiracy to forcibly prevent, hinder or delay the execution of Federal

law, you must find that the government proved beyond a reasonable doubt that the object of the

conspiracy was to prevent by force the execution of any public law of the United States,

generally and in all cases, which is to overthrow the government as to one of its laws.

       But the sudden outbreak of a mob, or the assembling of men in order, by force, to defeat

the execution of the law in a particular instance, and then to disperse, without the intention to




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continue together, or to re-assemble for the purpose of defeating the law generally, in all cases, is

not a conspiracy to forcibly prevent, hinder or delay the execution of Federal law.

        In order to find a defendant guilty of conspiring to prevent, hinder or delay the execution

of Federal law, you must find that the government proved beyond a reasonable doubt that the

defendant joined the conspiracy knowing that its object was to prevent the execution of federal

law, as opposed to the execution of some governmental function that, to the defendant’s

knowledge, is not governed by such law.

        In order to find a conspiracy to forcibly oppose the authority of the United States

government, you must find that the government proved the same standard beyond a reasonable

doubt or that the government has proved beyond a reasonable doubt that the defendant conspired

to attack, or take up arms against, federal officers. 32

        I have already instructed you generally on conspiracies. But I will now give you additional

instructions specific to the offense of seditious conspiracy charged in Count One.

                                              Definitions

        The two goals of the conspiracy charged in the indictment—(1) to oppose by force the

authority of the Government of the United States, and (2) to prevent, hinder, or delay the execution

of any law of the United States by force—both have as a common ingredient the intent to use force

to oppose federal law itself. I will now explain that concept.

        A conspiracy to prevent, hinder, or delay the execution of any law of the United States by

force requires the government to prove beyond a reasonable doubt an agreement to use force



32
  E.g., Case of Fries, 9 F. Cas. 826, 901 (Penn. Cir. Ct. 1799); In re Burr, 8 U.S. 470, 4 Cranch
469 (1807).




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against some person who has authority to execute and who is immediately engaged in executing a

law of the United States.33

         An agreement to accomplish the goals of the conspiracy by litigation, advocacy, protest, or

deceit is insufficient. Force is defined in the conventional or ordinary sense. An act involves

force if it threatens or results in violence. It is not necessary for the government to show that force

was actually used by the conspirators. Nor is it necessary for the government to prove that the

conspirators agreed as to every detail of how force was to be used, or as to the specific targets of

the use of force. Indeed, just as participants in a legitimate business venture may be unaware of

details or may disagree about details, and still be working together to make a profit, so too

participants in a criminal venture may be unaware of details or disagree about details and still be

working together to further an unlawful purpose. However, the government must prove at least

that the conspirators intended that force would be used against some person who has authority to

execute and who is immediately engaged in executing a law of the United States.

         “Federal officers” means officers of the Executive Branch of the United States

Government.

         [38] Proposed Instruction for Conspiracy to Obstruct an Official Proceeding

         Count Two of the indictment charges that the defendants participated in a conspiracy to

corruptly obstruct an official proceeding.

                                               Elements

         In order to find a defendant guilty of conspiring to corruptly obstruct an official proceeding,

you must find that the government proved each of the following two elements beyond a reasonable

doubt:



33
     Haywood v. United States, 268 F. 795, 800 (7th Cir. 1920).


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       First, that the defendant conspired or agreed with at least one other person with the goal of

committing the crime of corruptly obstructing an official proceeding.

       Second, that the defendant joined or entered into that agreement with awareness of its

unlawful goal.

       I have already instructed you generally on conspiracies. The instructions in Count Three,

which charges obstruction of an official proceeding and which I will provide you shortly, apply

equally here when you are considering whether each defendant conspired to commit the crime that

is charged substantively in Count Three.        Please refer to the instruction for the offense of

Obstruction of an Official Proceeding, below.

      [39] Proposed Instruction for Conspiracy to Prevent Members of Congress from
                                 Discharging Their Duties

       Count Four of the indictment charges the defendants with conspiring to prevent Members

of Congress34 and law enforcement officers from discharging their duties, which is a violation of

the law.

                                           Elements35

       In order to find the defendant guilty of conspiring to prevent Members of Congress and

law enforcement officers 36 from discharging their duties, you must find that the government

proved each of the following two elements beyond a reasonable doubt:


34
  The defense submits that this language should read, “federal officers.” Defense position:
members of Congress and U.S. Capitol Police are not “federal officers.”
35
  United States v. Rhodes, No. 22-cr-15 (APM), 2022 WL 2315554, at *14-17 (D.D.C. June 28,
2022); Thompson v. Trump, No. 21-cv-400 (APM), 2022 WL 503384, at *26-28 (D.D.C. Feb. 18,
2022)
36
   The defense submits that throughout the elements portion of this instruction, this language
should read, “Members of Congress and U.S. Capitol Police Officers,” with changes in singular
vs. plural as appropriate.


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       First, that the defendant agreed with at least one other person to, by force, intimidation, or

threat, (a) prevent a Member of Congress or a law enforcement officer from discharging a duty, or

(b) induce a Member of Congress or law enforcement officer to leave the place where that person’s

duties are required to be performed.

       Second, that two or more members of the conspiracy either formed the conspiracy or

pursued its goals in any State, Territory, Possession or District; and

       Third, that the defendant joined or entered into that agreement with awareness of one or

both of its unlawful goals.

       I have already instructed you generally on conspiracies. And the instruction I gave you

earlier about unanimity with respect to the objects or goals of the conspiracy applies equally here:

As to either or both goals which you may find the conspirators agreed to promote, you must be

unanimous.

                                            Definitions

       The terms “State, Territory, Possession or District” include all 50 U.S. states and the

District of Columbia.

                        [40] Proposed Instruction for Theories of Liability

       A defendant may be found guilty of committing a crime under several theories of liability.

I will instruct you now on those various theories of liability, which apply to Count 3 and Count 5

through Count 10 of this Indictment. I will instruct you on the specific elements of each of those

offenses next.

       a.        Willfully Causing An Act To Be Done

       You may find each defendant guilty of a crime charged in the indictment without finding

that he personally committed each of the acts constituting the offense or was personally present at




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the commission of the offense. A defendant is responsible for an act which he willfully causes to

be done if the act would be criminal if performed by him directly or by another. To “cause” an act

to be done means to bring it about. You may convict any defendant of an offense charged in this

indictment if you find that the government has proved beyond a reasonable doubt each element of

the offense and that the defendant willfully caused such an act to be done, with the intent to commit

the crime.

       b.      Aiding and Abetting37

       A person may be guilty of an offense if he aided and abetted another person in committing

the offense or attempted to do so. A person who has aided and abetted another person in

committing an offense, or attempting to do so, is often called an accomplice. The person whom

the accomplice aids and abets is known as the principal. It is not necessary that all the people who

committed the crime be caught or identified. It is sufficient if you find beyond a reasonable doubt

that the crime was committed by someone and that the defendant knowingly and intentionally

aided and abetted that person in committing the crime.

       In order to find the defendant guilty of aiding and abetting an offense or an attempted

offense, you must find the that the government proved beyond a reasonable doubt the following

five requirements:

       First, that others crime by committing each of the elements of the offense charged, or

attempted to do so, as I will explain below for each of the crimes charged in Counts 3 and 5 through

10.




37
   United States v. Reffitt, 21-cr-32 (DLF), ECF No. 119 (D.D.C. Mar. 7, 2022) (Final Jury
Instructions); Redbook 3.200 (Aiding and Abetting).


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       Second, that the defendant knew that the offense charged was going to be committed or

was being committed by others.

       Third, that the defendant performed an act or acts in furtherance of the offense.

       Fourth, that the defendant knowingly performed that act or acts for the purpose of aiding,

assisting, soliciting, facilitating, or encouraging others in committing the offense.

       Fifth, that the defendant did that act or acts with the intent that others commit the offense.

       To show that the defendant performed an act or acts in furtherance of the offense charged,

the government needs to show some affirmative participation by the defendant which at least

encouraged others to commit the offense. That is, you must find that the defendant’s act or acts

did, in some way, aid, assist, facilitate, or encourage others to commit the offense. The defendant’s

act or acts need not further aid, assist, facilitate, or encourage every part or phase of the offense

charged; it is enough if the defendant’s act or acts further aid, assist, facilitate, or encourage only

one or some parts or phases of the offense. Also, the defendant’s acts need not themselves be

against the law.

       In deciding whether the defendant had the required knowledge and intent to satisfy the

fourth requirement for aiding and abetting, you may consider both direct and circumstantial

evidence, including the defendant’s words and actions and other facts and circumstances.

However, evidence that the defendant merely associated with persons involved in a criminal

venture or was merely present or was merely a knowing spectator during the commission of the

offense is not enough for you to find the defendant guilty as an aider and abetter. If the evidence

shows that the defendant knew that the offense was being committed or was about to be committed,

but does not also prove beyond a reasonable doubt that it was the defendant’s intent and purpose

to aid, assist, encourage, facilitate, or otherwise associate himself with the offense, you may not




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find the defendant guilty of the obstruction of an official proceeding as an aider and abettor. The

government must prove beyond a reasonable doubt that the defendant in some way participated in

the offense committed by others as something the defendant wished to bring about and to make

succeed.

       c.      Co-Conspirator Liability38

       You may also find a defendant guilty of an offense based on co-conspirator liability. A

defendant is responsible for an offense committed by another member of a conspiracy if the

defendant was a member of the conspiracy when the offense was committed and if the offense was

committed in furtherance of, and as a natural consequence of, the conspiracy. In order to find a

defendant guilty of a charged offense under this theory of liability, you must find the that the

government proved beyond a reasonable doubt the following six requirements:

       First, the defendant knowingly joined a conspiracy;

       Second, the charged offense was committed by a member of that conspiracy;

       Third, that the defendant was a member of the conspiracy at the time the charged offense

was committed;

       Fourth, that the charged offense was committed during the existence of the conspiracy;

       Fifth, that the charged offense was committed in furtherance of the conspiracy; and

       [Government Proposal: Sixth, that the charged offense was a reasonably foreseeable

consequence of the conspiracy. It is not necessary that the crime was intended as part of the

original plan, only that it was a reasonably foreseeable consequence of the original plan.]




38
   Redbook 7.103 (Co-conspirator Liability); Seventh Circuit Federal Criminal Jury Instruction
5.12 (2020); Pinkerton v. United States, 328 U.S. 640, 646-48 (1946); United States v. Long, 905
F.2d 1572, 1577 n.8 (D.C. Cir. 1990); and United States v. Sampol, 636 F.2d 621, 676 (D.C. Cir.
1980).


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       [Defense Proposal: Sixth, that the defendant could have reasonably foreseen the offense as

a necessary or natural consequence of the conspiracy.]

       The principles governing conspiracy that I explained above apply here as well.

       d.        Attempt

       For Count 3, and Count 5 through Count 1039, you can also find a defendant guilty of

attempting to commit the charged offense. An attempt to commit a charged offense is a crime

even if the defendant did not actually complete the charged crime. In order to find the defendant

guilty of attempting to commit a charged crime, you must find that the government proved beyond

a reasonable doubt each of the following two elements:

       First, that the defendant intended to commit the charged crimes, as I will define each

offense below.

       Second, that the defendant took a substantial step toward committing the charged offense

which strongly corroborates or confirms that the defendant intended to commit that crime.

       With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit a charged offense merely because he thought about it. You must find that the

evidence proved beyond a reasonable doubt that the defendant’s mental state passed beyond the

stage of thinking about the crime to actually intending to commit it.




39
       The defense requests that the Court only provide this instruction as to Counts 3, 5, and 10
because the indictment does not specifically plead attempt as to the other counts. The government
submits that attempt does not need to be pled in the indictment for the Court to instruct the jury on
it. See United States v. Jabr, 2019 WL 13110682 (D.D.C. 2019) (Friedman, J.). (“Courts have
generally agreed that “under Fed. R. Crim. P. 31(c), a defendant may be found guilty of an attempt
to commit a substantive offense, whether or not the attempt was charged in the indictment,
provided an attempt is punishable”), citing United States v. Resendiz-Ponce, 549 U.S. 102, 110,
n.7 (2007).


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       With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit a charged crime merely because he made some plans to or some preparation for

committing that crime. Instead, you must find that the defendant took some firm, clear, undeniable

action to accomplish his intent to commit the charged offense. However, the substantial step

element does not require the government to prove that the defendant did everything except the last

act necessary to complete the crime.

            [41] Proposed Instruction for Obstruction of an Official Proceeding 40

       Count Three of the indictment charges the defendants with corruptly obstructing an official

proceeding, which is a violation of the law.



40
   Modeled on final jury instructions in United States v. Reffitt, No. 21-cr-32 (DLF), ECF No. 119
(D.D.C. Mar. 7, 2022); United States v. Robertson, No. 21-cr-34 (CRC), ECF No. 86 (D.D.C. Apr.
8, 2022); United States v. Thompson, No. 21-cr-161 (RBW), ECF No. 83 (Apr. 14, 2022); United
States v. Hale-Cusanelli, No. 21-cr-37 (TNM), ECF No. 84 (May 27, 2022); United States v.
Williams, No. 21-cr-377 (BAH), ECF No. 112 (D.D.C. June 30, 2022); United States v. Bledsoe,
No. 21-cr-204 (BAH), ECF No. 215 (D.D.C. July 21, 2022); and United States v. Jenson, No. 21-
cr-6 (TJK), ECF No. 95 (D.D.C. September 22, 2022).

For the definition of “official proceeding”: 18 U.S.C. §§ 1512(f)(1), 1515(a)(1)(B); Seventh
Circuit Pattern Criminal Jury Instructions at §§ 1512 & 1515(a)(1).

For the nexus requirement (that the official proceeding be reasonably foreseeable): United States
v. Sandlin, No. 21-cr-88 (DLF), 2021 WL 5865006, at *12 (D.D.C. Dec. 10, 2021); United States
v. Aguilar, 515 U.S. 593, 599-600 (1995); Seventh Circuit Pattern Criminal Jury Instructions at
§§ 1512 & 1515(a)(1).

For the definition of “corruptly”: Seventh Circuit Pattern Criminal Jury Instructions at § 1512;
Arthur Andersen LLP v. United States, 544 U.S. 696, 706 (2005); United States v. Gordon, 710
F.3d 1124, 1151 (10th Cir. 2013); United States v. Friske, 640 F.3d 1288, 1291 (11th Cir. 2011);
United States v. Watters, 717 F.3d 733, 735 (9th Cir. 2013); United States v. North, 910 F.2d 843,
883 (D.C. Cir. 1990), withdrawn and superseded in part by 920 F.2d 940 (D.C. Cir. 1990); United
States v. Sandlin, No. 21-cr-88 (DLF), 2021 WL 5865006, at *11-13 (D.D.C. Dec. 10, 2021);
United States v. Caldwell, No. 21-cr-28 (APM), 2021 WL 6062718, at *11 (D.D.C. Dec. 20, 2021);
United States v. Mostofsky, No. 21-cr-138 (JEB), 2021 WL 6049891, at *11 (D.D.C. Dec. 21,
2021); United States v. Montgomery, No. 21-cr-46 (RDM), 2021 WL 6134591, at *19-21 (D.D.C.



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                                              Elements

         In order to find a defendant guilty of corruptly obstructing an official proceeding, you

must find that the government proved each of the following four elements beyond a reasonable

doubt:

         First, the defendant attempted to or did obstruct or impede an official proceeding.

         Second, the defendant intended to obstruct or impede the official proceeding.

         Third, the defendant acted knowingly, with awareness that the natural and probable effect

of his conduct would be to obstruct or impede the official proceeding.

         Fourth, the defendant acted corruptly.

                                             Definitions

         The term “official proceeding” includes41 a proceeding before the Congress. The official

proceeding need not be pending or about to be instituted at the time of the offense. If the official

proceeding was not pending or about to be instituted, the government must prove beyond a

reasonable doubt that the official proceeding was reasonably foreseeable to the defendant. As used

in Count Three, the term “official proceeding” means Congress’s Joint Session to certify the

Electoral College vote.42




Dec. 28, 2021); United States v. Nordean, No. 21-cr-175 (TJK), 2021 WL 6134595, at *10-11
(D.D.C. Dec. 28, 2021); United States v. Lonich, No. 18-10298, 2022 WL 90881, at *18 (9th Cir.
Jan. 10, 2022).
41
     The defense submits that “includes” should be changed to “means” here.
42
     The defense objects to the inclusion of the highlighted language.



                                                  34
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         A person acts “knowingly” if he realizes what he is doing and is aware of the nature of his

conduct, and does not act through ignorance, mistake, or accident. In deciding whether a defendant

acted knowingly, you may consider all of the evidence, including what the defendant did or said.

         [Government Proposal: To act “corruptly,” the defendant must use unlawful means or have

an improper purpose, or both. The defendant must also act with “consciousness of wrongdoing.”

“Consciousness of wrongdoing” means with an understanding or awareness that what the person

is doing is wrong.

         [Defense Proposal: “To act “corruptly” is to voluntarily and intentionally bring about an

unlawful result or a lawful result by some unlawful method, with hope or expectation of an

unlawful benefit to oneself or an associate.” United States v. Montgomery, 578 F. Supp. 3d 54,

84 n. 5 (D.D.C. 2021) (citing United States v. Aguilar, 515 U.S. 593, 616-17 (1995) (Scalia, J.,

concurring and dissenting in part).      “The defendant must also act with ‘consciousness of

wrongdoing.’ “Consciousness of wrongdoing” means with an understanding or awareness that

what the person is doing is wrong.” To act “corruptly,” the defendant must also influence another

person to violate their legal duty.43]

         Not all attempts to obstruct or impede an official proceeding involve acting corruptly. For

example, a witness in a court proceeding may refuse to testify by invoking his constitutional

privilege against self-incrimination, thereby obstructing or impeding the proceeding, but he does

not act corruptly. In contrast, an individual who obstructs or impedes a court proceeding by

engaging in conduct such as offering illegal bribes, engaging in violence, committing fraud, or

through other independently unlawful conduct, is acting corruptly.




43
     United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991)


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While the defendant must act with intent to obstruct the official proceeding, this need not be his

sole purpose. A defendant’s unlawful intent to obstruct justice is not negated by the simultaneous

presence of another purpose for his conduct. 44

                                Concluding Remark for Count Three

         A defendant may be found guilty of the offense charged in Count Three if the defendant

obstructed an official proceeding, attempted to obstruct an official proceeding, aided and abetted

the obstruction of an official proceeding, willfully caused others to obstruct an official proceeding,

or as a result of co-conspirator liability. I have already described each of these five theories of

liability. If you find beyond a reasonable doubt that the defendant committed the offense of

obstruction of an official proceeding in any one of these five ways, you should find the defendant

guilty of Count Three and you need not consider whether the defendant committed the offense of

obstruction of an official proceeding in the other three ways. 45

       [23] Proposed Instruction for Interference with Officers During a Civil Disorder 46

         Count Five charges all five defendants with committing or attempting to commit an act to

obstruct, impede, or interfere with law enforcement officers lawfully carrying out their official

duties incident to a civil disorder, which is a violation of federal law.

                                              Elements




44
   The defense objects to the inclusion of the highlighted language for the reasons articulated in
Footnote 11.
45
     The defense objects to the inclusion of the highlighted language.
46
   18 U.S.C. § 231(a)(3); 18 U.S.C. § 232; 18 U.S.C. § 6; 5 U.S.C. § 101; United States v. Reffitt,
21-cr-32 (DLF), ECF No. 119 (D.D.C. Mar. 7, 2022) (Final Jury Instructions); United States v.
Jensen, 21-cr-6 (TJK), ECF No. 95 (D.D.C. September 22, 2022); United States v. Pugh, 20-cr-73
(S.D. Ala. May 19, 2021); United States v. Rupert, No. 20-cr-104, ECF No. 81 (D. Minn. Mar. 12,
2021); Third Circuit Model Jury Instruction 7.01.


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        In order to find the defendants guilty of obstructing officers during a civil disorder, you

must find the following four elements beyond a reasonable doubt:

        First, the defendant knowingly committed an act or attempted to commit an act.

        Second, in committing or attempting to commit that act, the defendant intended to obstruct,

impede, or interfere with one or more law enforcement officers.

        Third, at the time of the defendant’s actual or attempted act, the law enforcement officer

or officers were engaged in the lawful performance of their official duties incident to and during a

civil disorder.

        Fourth, the civil disorder in any way or degree obstructed, delayed, or adversely affected

either commerce or the movement of any article or commodity in commerce or the conduct or

performance of any federally protected function.

                                            Definitions

        The term “civil disorder” means any public disturbance involving acts of violence by

groups of three or more persons, which (a) causes an immediate danger of injury to another

individual, (b) causes an immediate danger of damage to another individual’s property, (c) results

in injury to another individual, or (d) results in damage to another individual’s property.

        The term “commerce” means commerce or travel between one state, including the District

of Columbia, and any other state, including the District of Columbia. It also means commerce

wholly within the District of Columbia.

        The term “federally protected function” means any function, operation, or action carried

out, under the laws of the United States, by any department, agency, or instrumentality of the

United States or by an officer or employee thereof.




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         The term “department” includes executive departments. The Department of Homeland

Security, which includes the United States Secret Service, is an executive department.

         The term “agency” includes any department, independent establishment, commission,

administration, authority, board, or bureau of the United States.

                                 Concluding Remark for Count Five

         A defendant may be found guilty of the offense charged in Count Five if the defendant

committed an act to obstruct, impede, or interfere with law enforcement officers lawfully carrying

out their official duties incident to a civil disorder, attempted to do so, abetted and abetted others

in doing so, willfully caused others to do so, or as a result of co-conspirator liability. I have already

described each of these five ways of committing the offense. If you find beyond a reasonable doubt

that the defendant committed the offense of obstructing, impeding, or interfering with law

enforcement officers lawfully carrying out their official duties incident to a civil disorder in any

one of these five ways, you should find the defendant guilty of Count Five and you need not

consider whether the defendant committed the offense in the other three ways. 47




47
     The defense objects to the inclusion of the highlighted language.



                                                   38
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              [43] Proposed Instruction for Destruction of Government Property 48

          Counts Six and Seven of the indictment each charge all five defendants with injuring,

damaging, or destroying property of the United States where that damage exceeded $1,000 for

each count. I will first explain the elements of the substantive offense. I will then instruct you on

the lesser-included offense of committing the crime where the value did not exceed $1,000 for

count. The defendants are charged with two separate counts of destruction of government

property. For each count, the government must prove beyond a reasonable doubt that the damage

exceeded $1,000 as to the property at issue in that count.

                                               Elements

          In order to find a defendant guilty of injuring, damaging, or destroying property of the

United States, you must find that the government proved each of the following four elements

beyond a reasonable doubt:

          First, that the defendant injured, damaged, or destroyed property;

          Second, that the defendant did so willfully;

          Third, that the property involved was property of the United States, or of any department

or agency thereof; and

          Fourth, the damage or attempted damage to the property in question exceeded the sum of

$1,000.

                                              Definitions



48
   United States v. Rodean, No. 21-cr-57 (TNM) (D.D.C. July 12, 2022) (at transcript page 168,
Judge McFadden, in reaching verdict in bench trial, adopting these elements for the charge of
destruction of government property); 2 Modern Federal Jury Instructions, ¶ 44A.01, Comment to
Instruction 44A-4 (footnote with case citations omitted); Pattern Jury Instructions for Federal
Criminal Cases, District of South Carolina (Eric William Ruschky, 2020 Online Edition).


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       [Government Proposal: A defendant acts “willfully” if he acted with a bad purpose or

knowledge that his conduct was unlawful. While the government must show that a defendant

knew that the conduct was unlawful, the government does not need to prove that the defendant

was aware of the specific law that his conduct violated. 49]

       [Defense Proposal: A defendant acts “willfully” if he knew his conduct was unlawful and

intended to do something that the law forbids. That is, to find that the defendant you are

considering acted “willfully,” you must find that the evidence proved beyond a reasonable doubt

that the defendant acted with a purpose to disobey or disregard the law.]

       The government also does not need to prove that the defendant knew that the property

belonged to the United States.50

       You must decide whether the value of the property exceeded the sum of $1,000. The value

of the damaged or destroyed property is measured by the reasonable cost of repairing or the cost




49
   As the Supreme Court has explained, “willfully” is “a word of many meanings whose
construction is often dependent on the context in which it appears.” Bryan v. United States, 524
U.S. 184, 191 (1998) (internal quotation marks omitted). “As a general matter, when used in the
criminal context, a ‘willful’ act is one undertaken with a bad purpose. In other words, in order to
establish a ‘willful’ violation of a statute, the Government must prove that the defendant acted
with knowledge that his conduct was unlawful.” Id. at 191-92 (internal quotation marks omitted).
50
   United States v. LaPorta, 46 F.3d 152, 158–59 (2d Cir. 1994) (Section 1361 does not require
proof that defendants know that they are destroying government property; government’s title to
property is jurisdictional fact, not a scienter requirement); United States v. Krause, 914 F.3d 1122,
1127 (8th Cir. 2019) (“The plain language of the statute unequivocally does not demand that a
person have knowledge that the property willfully injured or destroyed belongs to the United
States. Although the word ‘willfully’ requires that Krause acted knowingly and voluntarily, the
terms does not relate to the latter phrase: ‘property of the United States.’ This language merely
lays out a jurisdictional prerequisite: the property must belong to the United States for a person to
be guilty of this offense.”) (citation omitted).



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of replacing the property, whichever is less. Do not speculate or guess at the value of the property.

Base your determination only on the evidence. 51

                            Concluding Remark for Counts Six and Seven

         A defendant may be found guilty of the offenses charged in Counts Six and Seven if the

defendant injured, damaged, or destroyed property of the United States, attempted to do so, abetted

and abetted others in doing so, willfully caused others to do so, or as a result of co-conspirator

liability. I have already described each of these five ways of committing the offense. If you find

beyond a reasonable doubt that the defendant committed the offense of injuring, damaging, or

destroying property of the United States in any one of these five ways, you should find the

defendant guilty of Counts Six and Seven and you need not consider whether the defendant

committed the offense in the other three ways. 52

       [44] Proposed Instruction for Assaulting, Resisting, or Impeding Certain Officers

         Counts Eight and Nine charge all five defendants with forcibly assaulting, resisting,

opposing, impeding, intimidating, or interfering with an officer or an employee of the United States

who was then engaged in the performance of his official duties, which is a violation of federal law.

I will explain the elements of the offense, along with its associated definitions.

                                              Elements

         In order to find the defendants guilty of forcibly assaulting, resisting, opposing, impeding,

intimidating, or interfering with an officer or an employee of the United States who was then

engaged in the performance of his official duties, you must find the following four elements

beyond a reasonable doubt


51
     Redbook 3.105 (Proof of Value).
52
     The defense objects to the inclusion of the highlighted language.


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        First, the defendant assaulted, resisted, opposed, impeded, intimidated, or interfered with 53

an officer from the United States Capitol Police.

        Second, the defendant did such acts forcibly.

        Third, the defendant did such acts voluntarily and intentionally.

        Fourth, the officer from the United States Capitol Police was an officer or an employee of

the United States who was then engaged in the performance of his official duties.

        Fifth, the defendant acted with the intent to commit another felony. For purposes of this

element, “another felony” refers to the offenses charged in Counts One through Seven.

                                               Definitions

        The defendant acted “forcibly” if he used force, attempted to use force, or threatened to use

force against the officer. A threat to use force at some unspecified time in the future is not sufficient to

establish that the defendant acted forcibly.

        The term “assault” means any intentional attempt or threat to inflict injury upon someone else,

when coupled with an apparent present ability to do so. A finding that one used force (or attempted or

threatened to use it) is not the same as a finding that he attempted or threatened to inflict injury. In

order to find that the defendant committed an “assault,” you must find beyond a reasonable doubt that

the defendant acted forcibly and that the defendant intended to inflict or intended to threaten injury.

        [Defense proposal: A defendant commits “assault” when he (1) willfully attempts to inflict

injury upon the person of another, or (2) intentionally inflicts injury upon the person of another which,

when coupled with an apparent present ability, causes a reasonable apprehension of immediate bodily




53
   The defense objects to the inclusion of the highlighted language. Defense objection: The
government must prove on the Section 111(a) offenses that the defendant forcibly assaulted the
law enforcement officer. United States v. Chapman, 528 F.3d 1215, 1219 (9th Cir. 2008).


                                                    42
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harm.54]

         The terms “resist,” “oppose,” “impede,” “intimidate,” and “interfere with” carry their

everyday, ordinary meanings.

         You are instructed that it was a part of the official duty of officers of the United States Capitol

Police to protect the U.S. Capitol complex on January 6, 2021, and detain individuals who lacked

authorization to enter the restricted area around the complex. It is not necessary to show that the

defendant knew the person being forcibly assaulted, resisted, opposed, impeded, intimidated, or

interfered with was, at that time, a federal officer carrying out an official duty so long as it is established

beyond a reasonable doubt that the victim was, in fact, a federal officer acting in the course of his duty

and that the defendant intentionally forcibly assaulted, resisted, opposed, impeded, intimidated, or

interfered with that officer.

                                Concluding Remark for Counts Eight and Nine

         A defendant may be found guilty of the offenses charged in Counts Eight and Nine if the

defendant assaulted, resisted, opposed, impeded, intimidated, or interfered with an officer from the

United States Capitol Police, abetted and abetted others in doing so, willfully caused others to do so,

or as a result of co-conspirator liability. I have already described each of these four ways of committing

the offense. If you find beyond a reasonable doubt that the defendant committed the offense of

assaulting, resisting, opposing, impeding, intimidating, or interfering with an officer from the United

States Capitol Police in any one of these four ways, you should find the defendant guilty of Counts

Eight and Nine and you need not consider whether the defendant committed the offense in the other

three ways.55



54
  United States v. Dat Quoc Do, 994 F.3d 1096, 1099 (9th Cir. 2021) (federal generic assault
definition). The government objects to the inclusion of this language.
55
     The defense objects to the inclusion of the highlighted language.



                                                      43
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        [45] Proposed Instruction for Robbery of Personal Property of the United States56

        Count Ten charges Dominic Pezzola with robbery of personal property of the United

States, which is a violation of federal law. I will explain the elements of the offense, along with its

associated definitions.

                                               Elements

        In order to find the defendant guilty of robbery of personal property of the United States,

you must find the following four elements beyond a reasonable doubt, that

        First, the defendant took property from a person,

        Second, that the Defendant did so against that person’s will;

        Third, that the Defendant did so by force and violence;

        Fourth, that the Defendant carried the property away; and

        Fifth, that the property was the personal property of the United States.

        For purposes of this offense, “robbery” is defined as the unlawful taking of property from

the person or in the presence of another, against his or her will, by means of actual or threatened

force, violence, or fear of injury to his or her person or to property in his or her custody or

possession.

                                  Concluding Remark for Count Ten

        A defendant may be found guilty of the offense charged in Count Ten if the defendant unlawful

taking of property from the person or in the presence of another, against his or her will, by means of

actual or threatened force, violence, or fear of injury, abetted and abetted others in doing so, willfully

caused others to do so, or as a result of co-conspirator liability. I have already described each of these


56
  2A Fed. Jury Prac. & Instr. § 53:05 (6th ed.), 2A Fed. Jury Prac. & Instr. § 53:05 (6th ed.);
Norris v. United States, 152 F.2d 808 (5th Cir. 1946).




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four ways of committing the offense. If you find beyond a reasonable doubt that the defendant

committed the offense of unlawful taking of property from the person or in the presence of another,

against his or her will, by means of actual or threatened force, violence, or fear of injury in any one

of these four ways, you should find the defendant guilty of Counts Ten and you need not consider

whether the defendant committed the offense in the other three ways.57

         [46] Venue

         The government must prove that some element of each of the offenses charged occurred

here in Washington, D.C. There is no requirement that all elements of the offenses took place

here in Washington, D.C. But for you to return a guilty verdict on the three aforementioned

conspiracy charges, the government must convince you that the criminal agreement took place in

Washington, D.C. Unlike all the elements that I have described, this fact only has to be proved

by a preponderance of the evidence. This means the government only has to convince you that it

is more likely than not that the criminal agreement for the three charged conspiracy offenses was

reached here.

         Remember that the government must prove all the other elements I have described beyond

a reasonable doubt.58



57
     The defense objects to the inclusion of the highlighted language.
58
   The government objects to the inclusion of this instruction. In a conspiracy prosecution,
“venue is proper in any jurisdiction where any co-conspirator committed an overt act in furtherance
of the conspiracy.” United States v. Watson, 717 F.3d 196, 198 (D.C.Cir.2013) (citing United
States v. Brodie, 524 F.3d 259, 273 (D.C.Cir.2008), and 18 U.S.C. § 3237(a)); As the Supreme
Court has noted, this holds true even where there is no statutory overt-act requirement. See
Whitfield v. United States, 543 U.S. 209, 218, 125 S.Ct. 687, 160 L.Ed.2d 611 (2005) (“[T]his
Court has long held that venue is proper in any district in which an overt act in furtherance of the
conspiracy was committed, even where an overt act is not a required element of the conspiracy
offense.”) (citing United States v. Socony–Vacuum Oil Co., 310 U.S. 150, 252, 60 S.Ct. 811, 84
L.Ed. 1129 (1940)). Additionally, venue instructions are only required if a question of venue is



                                                  45
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       [47] First Amendment

               The First Amendment to the United States Constitution affords people the right to

assemble and to petition the government for the redress of grievances. The Capitol Grounds, that

is the area around the Capitol Building, is a public forum. The inside of the Capitol Building is

not a public forum. The First Amendment protects a person’s right to parade, stand, or move in

processions or assemblages in a public forum.

       The First Amendment’s function under our system of government is to invite dispute and

serves its high purpose when it induces a condition of unrest, creates dissatisfaction with conditions




genuinely in issue. United States v. Fahnbulleh, 752 F.3d 470, 477 (D.C.Cir.2014); United States
v. Lam Kwong–Wah, 924 F.2d 298, 301 (D.C.Cir.1991).

Defense response: The Supreme Court has held that the Sixth Amendment Vicinage Clause
permits venue to lie in a district where an overt act of the charged conspiracy was performed,
where the conspiracy statute makes an overt act an element of the offense. Hyde v. United States,
225 U.S. 347 (1912). Hyde has never been overruled and is binding law. The government quotes
from Whitfield v. United States, 543 U.S. 209 (2005). That is obiter dictum. Whitfield did not
concern venue, the Sixth Amendment or even a statutory venue provision. It concerned whether
the conspiracy crime in § 1956(h) contained an overt-act requirement. Whitfield, 543 U.S. at 218.
After providing at least six sufficient reasons why subsection (h) did not require an overt act, the
Court addressed a tertiary argument about § 1956(i), a venue provision not at issue in the case.
Whitfield did not reference Hyde and therefore did not overrule it. Neither case cited by Whitfield
addressed the Sixth Amendment argument that venue may not lie in a district where an overt act
occurred because the conspiracy statute at issue does not require an overt act. See United States v.
Socony–Vacuum Oil Co., 310 U.S. 150, 252, 60 S.Ct. 811, 84 L.Ed. 1129 (1940). In addition,
Socony–Vacuum concerns the Sherman Act. Congress intended that the Sherman Act criminalize
a common-law restraint-of-trade conspiracy which itself lacked an overt-act requirement. Nash v.
United States, 229 U.S. 373, 378 (1913). In contrast, the common law crime which Congress
intended to codify in the seditious conspiracy statute—conspiracy to commit constructive levying
war—required an overt act as an element of the offense. Ex parte Bollman, 8 U.S. 75, 172 (1807).
Where “a precedent of th[e] [Supreme] Court has direct application in a case, yet appears to rest
on reasons rejected in some other line of decisions, the [courts] should follow the case which
directly controls, leaving to th[e] Court the prerogative of overruling its own decisions.” Rodriguez
de Quijas v. Shearson/American Express, Inc., 490 U.S. 477, 484 (1989).



                                                 46
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as they are, or even stirs people to anger. It does not protect destruction of property or acts of

violence.

       In connection with the charges in the indictment, the government must prove beyond a

reasonable doubt that the Defendant’s conduct at issue did not merely constitute (i) parading,

standing or moving in assemblages in a public forum, and not violence or destruction of property,

or (ii) agreeing to parade, stand or move in assemblages in a public forum without the use of

force. If the government has not satisfied that burden, you may not find the Defendant

guilty because the conduct at issue is protected under the First Amendment. 59

       Rehl proposes adding the following: Words used by defendants must be interpreted

against the background of a profound national commitment to the principle that debate on public

issues should be uninhibited, robust, and wide open, and that it may well include vehement, caustic,

and sometimes unpleasantly sharp attacks on government and public officials. The language of

the political arena, like the language used in labor disputes, is often vituperative, abusive, and

inexact. Even a very crude offensive method of stating a political opposition is protected by the

First Amendment. Thus, statements of a point of view on a political, social, or religious issue

may never be treated as evidence of a crime. Authority: Language taken from the following cases




59
   The government objects to the inclusion of this instruction. Although the Capitol Grounds are
generally a traditional public forum, access to traditional public fora can be restricted for, among
other things, protection of important governmental figures. See, e.g., Mahoney v. U.S. Marshals
Service, 454 F. Supp. 2d 21, 32-33 (D.D.C. 2006) (Marshals Service did not violate First
Amendment by restricting access to sidewalk in front of St. Matthew’s Cathedral for Red Mass,
even though sidewalk was a traditional public forum).

Defense response: Jeannette Rankin Brigade v. Chief of Capitol Police, 342 F. Supp. 575 (D.D.C.
1972) (three-judge panel) sum. aff’d, 409 U.S. 972 (1972); Lederman v. United States, 291 F.3d
36, 39 (D.C. Cir. 2002).


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without including quotation marks. Watts v. U.S., 394 U.S. 705 (1969); Hess v. Indiana, 414 U.S.

105 (1973); US v Munchel, 991 F.3d 1273 (DC Cir. 2021); US v Rahman, SD NY (1995).




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :       CASE NO. 21-cr-175 (TJK)
                v.                              :
                                                :
ETHAN NORDEAN, et. al.                          :
                                                :
                        Defendants.             :


           JOINT STATEMENT REGARDING LESSER-INCLUDED OFFENSES

         Pursuant to the Court’s scheduling order (ECF No. 426, ¶ 8.g), the parties, by and through

their attorneys, hereby submit this joint statement regarding lesser-included offenses.

         The parties jointly agree that it would be appropriate, if the defense requests, to give a

lesser-included-offense instruction on Counts Six and Seven, which charge violations of 18 U.S.C.

§ 1361. Specifically, the parties agree that it would be appropriate to give a lesser-included-offense

instruction regarding destruction of government property in an amount less than $1,000.

         The defense requests that the Court instruct the jury that it may find a violation of 18 U.S.C.

§ 1512(d)(1) as a lesser-included offense of 18 U.S.C. § 1512(c)(2). The government opposes that

request and maintains that § 1512(d)(1) is not a lesser-included offense of subsection (c)(2) under

the circumstances of this case. The parties request that the Court set a briefing schedule on this

issue.




                                                    1
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                                                                                Juror No._________


                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :
                 v.                            :       Case No. 21-CR-175 (TJK)
                                               :
ETHAN NORDEAN,                                 :
also known as “Rufio Panman”                   :
                                               :
JOSEPH R. BIGGS,                               :
                                               :
ZACHARY REHL,                                  :
                                               :
ENRIQUE TARRIO                                 :
also known as “Henry Tarrio”                   :
                                               :
DOMINIC J. PEZZOLA,                            :
also known as “Spaz,”                          :
also known as “Spazzo”                         :
also known as “Spazzolini”                     :
                                               :
                         Defendants.           :

                           Parties’ Joint Proposed Juror Questionnaire1

TO THE PROSPECTIVE JUROR:

          You have been selected to serve as a potential juror for a trial that is scheduled to begin

with jury selection on December 12, 2022, at 9:30 a.m. The trial will concern the events that

occurred at the U.S. Capitol Building on January 6, 2021. You are here today only for one purpose:

to fill out a juror questionnaire. The trial and jury selection process will not start today. Once you

have completed the questionnaire, you are done for the day. You will be given additional

instructions before you leave the courtroom about when to return for jury service for this case.

         The purpose of this questionnaire is to help the Court and the lawyers determine whether

you can serve as a fair and impartial juror. A fair and impartial juror is one who can decide the


1
    The highlighted questions are those upon which the parties do not agree.
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                                                                            Juror Number ________


case based solely on the evidence presented at trial and the instructions about the law that will be

given by the Court. The information you provide in response to these questions will be given to

the Court and the parties. When you return for the trial itself, you likely will be asked follow-up

questions about your responses. Filling out the questionnaire now will speed up the process of

jury selection.

       It is important that you understand that the Court is sensitive to your privacy. The

information contained in your answers will be used only by the Court and the parties to select a

fair and impartial jury. No other prospective jurors will hear or see your answers. After a jury has

been selected, all copies of your responses to this questionnaire will be returned to the Clerk of the

Court and kept in confidence. It will only be disclosed, if at all, with names and other identifying

information removed. The parties are under Court order to maintain the confidentiality of any

information they learn in the course of reviewing this questionnaire.

       You are expected to sign the questionnaire with your juror number only. Your answers

will have the effect of a statement under oath.

       Please follow the instructions below when answering the questionnaire:

       1. Please answer each question below as candidly and completely as you reasonably can.

       2. Please keep in mind that there are no “right” or “wrong” answers, only complete and

           truthful answers, or incomplete and untruthful answers.

       3. Please fill out the entire questionnaire.

       4. Please write your juror number in the upper right corner of each page of the

           questionnaire. We ask you to do this in case a page becomes detached from the

           questionnaire, and we need to match it with the other pages.




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                                                                           Juror Number ________


       5. Do not leave any questions blank. If a question does not apply to you in any way, write

           “N/A,” or “not applicable,” rather than leaving the form blank.

       6. If you cannot answer a question because you do not understand it, write “Do not

           understand” in the space after the question.

       7. If you cannot answer a question because you do not know the answer, write “Do not

           know” in the space after the question.

       8. Please use, if available, a pen with black or blue ink. If we cannot read an answer, you

           may be required to re-write the answer.

       9. Do not write anything on the back of any page.

       10. After you have completed the questionnaire, please “sign” the final page with your

           juror number and return to a member of the court staff.

       In addition, now that you are a prospective juror, you must follow the instructions listed

below. That means you must follow these instructions between today and when you appear for

jury service in this case. The failure to follow these instructions can jeopardize the jury selection

process and possibly the fairness of the trial.

          Do not read anything whatsoever about the events of January 6th or this case. Please

           avoid any social media accounts that may relate to January 6th or this case.

          Do not read or listen to any media accounts whether in a newspaper, on the internet, on

           television, on the radio, or on any electronic or social media of any kind concerning the

           events of January 6th or this case.

          Do not watch, listen to, or read about any hearing that has already taken place or might

           take place before Congress about the events of January 6th or this case.




                                                  3
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                                                                          Juror Number ________


          Do not watch, listen to, or read about any reports issued by Congress about the events

           of January 6th or this case.

          Do not watch, listen to, or read any media accounts of any kind concerning a group

           called the “Proud Boys.”

          Do not discuss your service as a potential juror in this case with anyone, including your

           friends, family members, or employer, except to the extent logistically necessary to

           disclose your service.

          Do not conduct any research, including on the internet, about this case.

          Do not discuss or post anything about this case on any electronic or social media,

           including Facebook, Twitter, Snapchat, e-mail, text message, any blog, website, or chat

           forum, or any other media of any kind.

          Do not let anyone, including friends, family members, court personnel, parties in this

           case, or persons involved in the case talk to you about your views or any aspect of this

           case except officially in the courtroom.

       Thank you for your cooperation with these instructions and for your careful and honest

responses to the questionnaire. Your forthright and full cooperation is of vital importance to the

administration of justice in this case.




                                                             ______________________________
                                                             TIMOTHY J. KELLY
                                                             United States District Court Judge




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                                   PRELIMINARY MATTER

1. Once the jury is selected in this case, it may take a month or more for the presentation of
   evidence. After the presentation of evidence, the jury will deliberate. The typical trial day
   lasts from 9:30 a.m. to 5:00 p.m. on Monday through Thursday and 9:30 a.m. to 12:30 p.m. on
   Fridays. There will be an hour-long lunch break each day, and additional mid-day breaks as
   needed. We will not sit for trial on December 26 (Christmas), January 2 (New Year’s Day),
   or January 16 (Martin Luther King Jr. Day).

   Would this schedule present an extreme hardship for you?

   Yes ____ No ____

      a. If yes, please explain:
   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

                               BACKGROUND INFORMATION

2. Are you able to complete this questionnaire without another’s assistance?

   Yes ____ No ____

3. How long have you lived in Washington, D.C.? ________________

4. If you have lived in Washington, D.C. for less than three (3) years, where did you live before?

   ___________________________________________________________________________

5. What is your neighborhood called?

   ___________________________________________________________________________

6. Do you have any physical or medical condition, or do you take any medication, that would
   make it unusually difficult for you to serve as a juror in this case or to sit for long periods of
   time without a break?

   Yes ____ No ____

      a. If yes, please explain.
   ___________________________________________________________________________

   ___________________________________________________________________________



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                                                                          Juror Number ________


7. Do you have any moral, religious, or ethical beliefs that prevent you from sitting in judgment
   of another person? Yes ____ No ____

8. Do you have any trouble hearing? Yes ____ No ____

       a. If yes, would a hearing assistance device help you? Yes ____ No ____

9. Do you have any problem with your eyesight that is not treatable through the use of corrective
   lenses, such as eyeglasses or contact lenses? Yes ____ No ____

       a. If yes, would those problems prevent you from seeing clearly inside the courtroom or
          make it difficult for you to read evidence? Yes ____ No ____

10. The Court will require everyone present in the courtroom during trial to wear a protective mask
    except the judge when he is speaking, a lawyer who is speaking or questioning a witness, and
    the testifying witness. Would worries about COVID 19 still raise such serious concerns that it
    would prevent you from being able to focus in court for the duration of the trial?

11. Is there any other information about you or about the case that the Court should know that
    might affect your ability to be a fair and impartial juror in this case? Yes ____ No ____

       a. If yes, please explain:

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________

   ___________________________________________________________________________



                            EMPLOYMENT AND EDUCATION

12. What is your work status? (Check all that apply.)

   Employed full time                                ______
   Employed part time                                ______
   Full- or part-time volunteer                      ______
   Unemployed                                        ______
   Full- or part-time student                        ______
   Retired                                           ______
   Unable to work due to disability                  ______



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                                                                           Juror Number ________


    Other (please specify)                            ______

13. If you currently work, please list your current occupation and employer.
    ___________________________________________________________________________
    ___________________________________________________________________________


14. Have you or a close friend or family member ever been employed at the United States Capitol
    in any capacity?
    Yes ____ No ____

15. Have you or a close friend or family member ever been employed by the Federal Government?
    Yes ____ No ____

16. Have you or a close friend or family member ever served in the armed forces?
    Yes ____ No ____

17. If you have a spouse or significant other, please list their current occupation and employer.
    ___________________________________________________________________________
    ___________________________________________________________________________

18. Do you have strong feelings about firearms or the laws concerning firearms that would make
    it difficult to be a fair and impartial juror in this case? Yes ____ No ____

19. Do you or anyone in your family possess firearms? Yes ____ No ____

20. Someone in this case was previously arrested while unlawfully possessing a magazine for a
    firearm in Washington, D.C. Would that affect your ability to be a fair and impartial juror in
    this case? Yes ____ No ____

21. Would you be able to separate the fact that they brought a magazine for a firearm into
    Washington, D.C. from the facts in this case? Yes ____ No ____ 2

                 ORGANIZATIONAL AFFILIATIONS AND ACTIVITIES

22. Have you or a close friend or family member in the last five (5) years attended a rally, protest,
    demonstration, or march of any type? Yes ____ No ____


2
 The defendants propose Questions 18-21 but believe they are not necessary if the Court excludes
evidence about Tarrio’s possession of magazines in the District of Columbia. If the Court does
not exclude such evidence, or if the Court reserves ruling on the question, the government would
not object to the inclusion of Question 20; however, the government would object to Questions 18,
19, and 21.


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                                                                         Juror Number ________


23. If so, what was the cause? Where and when did it take place? Was any violence, destruction
    of property or disorderly conduct take place during the event? 3

                         PROXIMITY TO EVENTS OF JANUARY 6TH

24. Have you ever been on the Capitol grounds or inside the Capitol building?
    Yes ____ No ____

25. Were you or a close friend or family member living or working on Capitol Hill on January 6,
    2021?
    Yes ____ No ____

26. Were you or a close friend or family member at the Capitol on January 6, 2021?
    Yes ____ No ____

27. Did you have a concern for the safety of yourself or a close friend or family member on
    January 6, 2021, due to your or their proximity to the Capitol?
    Yes ____ No ____

                                     PRIOR JURY SERVICE

28. Have you ever served on a grand jury? Yes ____ No ____

29. Have you ever served on a jury in a trial?

      Yes ____ No ____

         a. For each jury service, please indicate:

         Approx.        Civil or       Verdict
         Year           Criminal       Reached?

         ______         ________       YES    NO

         ______         ________       YES    NO

         ______         ________       YES    NO

30. Have you ever served as a jury foreperson? Yes ____ No ____

31. Was there anything about your jury service that left you disappointed or dissatisfied with the
    court or criminal justice system? Yes ____ No ____ Not applicable ____




3
    The government objects to Question 23.


                                                  8
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32. Was there anything about your jury service that would affect your ability to be a fair and
    impartial juror in this case? Yes ____ No ____

33. Have you or a close friend or family member previously been called for jury service for a trial
    related to the events of January 6th? Yes ____ No ____

                                      MEDIA EXPOSURE

34. What are your primary sources for local and national news? (Check all that apply)

      Blogs/websites                  ____
      Internet                        ____
      News magazines                  ____
      Newspapers (including online)   ____
      Podcasts                        ____
      Radio                           ____
      Social Media                    ____
      TV/cable                        ____
      Word of mouth/conversations     ____
      Other sources (specify)         ____
      Do not follow the news          ____

35. Do you have subscriptions to or regularly read, listen to or watch any of the following media
      outlets?4

         a. New York Times                   Yes _____ No ______

         b. The Washington Post              Yes _____ No ______

         c. Los Angeles Times                Yes _____ No ______

         d. InfoWars                         Yes _____ No ______

         e. CensoredTV                       Yes _____ No ______

         f. Compound Media                   Yes _____ No ______

         g. Empty Wheel (Marcy Wheeler) Yes _____ No ______

         h. Sedition Hunters                 Yes _____ No ______



4
    The government objects to Question 35.


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                                                                          Juror Number ________


         i. Joe Rogan                         Yes _____ No ______

         j. MSNBC                              Yes _____ No ______

         k. Fox News                          Yes _____ No ______

         l. NBC                               Yes _____ No ______

         m. CNN                               Yes _____ No ______

         n. NPR                          Yes _____ No ______
            (National Public Radio-WETA)

36. List in order the news sources that you read or watch most frequently (e.g., by naming the
    specific newspaper, channel, website, etc.)5

         a. ___________________________________

         b. ___________________________________

         c. ___________________________________

37. Please check the sites on which you have accounts or profiles (check all that apply):

      Facebook ____            Reddit         ____           Twitter     ____
      Instagram ____           Rumble         ____           YouTube     ____
      Gab       ____           Signal         ____           WhatsApp    ____
      LinkedIn ____            Snapchat       ____           4Chan/8Chan ____
      MeWe      ____           Telegram       ____
      Parler    ____           TikTok         ____
                               Truth Social   ____
      Periscope ____           Tumblr         ____

38. There is likely to be media coverage of this case. To assure that the jury’s decision in this
    case is not based upon influences outside the courtroom, the Court instructs that you must
    avoid reading about the case in the newspapers or listening to any radio or television reports
    concerning this case including news coverage or communications on the internet or social
    media. You may not discuss or communicate about this case with your family, friends or co-
    workers or anyone else including on the internet or social media. Also, until you begin
    deliberations after the close of all evidence, you may not communicate about this case with
    your fellow jurors. Are you able to follow these instructions?

      Yes ____ No ____

5
    Defendant Biggs believes Question 36 is unnecessary if the questionnaire includes Question 36.


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39. Have you participated in discussions with family members, friends and coworkers about the
    events at the Capitol on January 6, 2021?

      Yes _____ No ______

40. How frequently?

      Often _______ Occasionally ______ Not that often _______

41. Where did the discussions occur? (Check all that apply.)6

      Home _______ Workplace _______ Social gatherings _______ Chat rooms _______ Over
      the phone ______ Other ________


                KNOWLEDGE OF TRIAL PARTICIPANTS AND THE CASE

The charges in this case arise out of events that occurred in Washington, D.C., on January 6, 2021.
There is nothing wrong with having heard or read something about this case. It is important,
however, that you truthfully and fully answer the following questions concerning your knowledge
about the case and trial participants.

42. The judge who will preside over this case is The Honorable Timothy J. Kelly of the United
    States District Court for the District of Columbia. Do you know, or have you had any social
    or professional contact with, Judge Kelly or any of his staff? Yes ____ No ____

43. The people listed below are lawyers and paralegals who will be representing the United States
    in this case. Do you know or have you had any social or professional contact with any of them
    or any of their family members?

         Erik Kenerson                Yes _____      No _____
         Jason McCullough             Yes _____      No _____
         Nadia Moore                  Yes _____      No _____
         Conor Mulroe                 Yes _____      No _____
         Amanda Rohde                 Yes _____      No _____
         Anna Badalament              Yes _____      No _____


44. The defendants in this case are the following individuals. Do you know or have you had any
    personal, social, or professional contact with any of them or any of their family members?

         Enrique Tarrio, aka Henry Tarrio (Miami, FL)               Yes ____ No ____
         Ethan Nordean, aka Rufio Panman (Vancouver, WA)            Yes ____ No ____

6
    The government objects to Question 41.


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       Joseph Biggs (Ormond Beach, FL)                               Yes ____ No ____
       Zachary Rehl (Philadelphia, PA)                               Yes ____ No ____
       Dominic Pezzola (Rochester, NY)                               Yes ____ No ____

45. In this case, the defendants will be represented by the following lawyers from various parts of
    the country. Do you know or have you had any social or professional contact with any of them
    or any member of their staff?

       Nayib Hassan for Enrique Tarrio                        Yes ____ No ____
       Sabino Jauregi for Enrique Tarrio                      Yes ____ No ____
       Nicholas Smith for Ethan Nordean                       Yes ____ No ____
       David Smith for Ethan Nordean                          Yes ____ No ____
       J. Daniel Hull for Joseph Biggs                        Yes ____ No ____
       Norm Pattis for Joseph Biggs                           Yes ____ No ____
       Carmen Hernandez for Zachary Rehl                      Yes ____ No ____
       Stephen Metcalf for Dominic Pezzola                    Yes ____ No ____

46. A list is attached at the end of this questionnaire containing the names of people who may
    either be witnesses in the case or who may be discussed during the trial. Please review the list.
    Do you recognize any of the names on the list? Yes ____ No ____

       a. If so, please identify the person(s): ________________________________________.

47. Did you vote in the last presidential election? (Neither the Court nor the parties will ask you
    to identify for whom you cast your vote if you, in fact, voted.) Yes ____ No ____


48. What are your feelings regarding the last presidential election?
    ___________________________________________________________________________

   ___________________________________________________________________________

49. What are your thoughts about Donald Trump?
    ___________________________________________________________________________

   ___________________________________________________________________________

50. Do you believe voter fraud might have affected the last presidential election to any degree?

   ___________________________________________________________________________

   ___________________________________________________________________________




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51. Do you believe that people have the right to nonviolently protest the actions of Congress?

    ___________________________________________________________________________

    __________________________________________________________________________ 7

52. About how many videos have you seen from the events that occurred at the United States
    Capitol on January 6, 2021?

       No videos ____         Some videos ____      A lot of videos ____

53. Did you watch live news coverage of the events at the United States Capitol on January 6,
    2021? Yes ____ No ____

If so, what was your reaction to what you watched? Has your opinion changed or remained the
same about those events since January 2021?


54. Have you watched or read news coverage of the events at the United States Capitol after
    January 6, 2021? Yes ____ No ____

    If “yes,” how much?

       Little news coverage ____     Some news coverage ____       A lot of news coverage ____

55. Do you follow anyone on any social media platform who regularly reports or comments on the
    events of January 6, 2021? Yes ____ No ____

56. Have you or a close friend or family member been employed or had any association or
    connection with the Congress of the United States or a member of Congress, or the House
    Select Committee to Investigate the January 6th events at the United States Capitol? Yes ____
    No ____

57. Did you attend, view, or listen to any portion of any Congressional hearings related to the
    events that occurred at the United States Capitol on January 6, 2021? Yes ____ No ____

       a. What did you come away with after watching the January 6, 2021, Committee
          Hearings? ____________________________________________________________

           _____________________________________________________________________



7
 The government objects to Questions 48-51. The government proposes as an alternative: “Do
you have any beliefs about the 2020 Presidential Election that would make it difficult for you to
be a fair and impartial juror in this case?”


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           ____________________________________________________________________ 8

58. Do you have such a strong opinion about any aspect of the events that occurred at the United
    States Capitol on January 6, 2021, that would affect your ability to be a fair and impartial juror
    in this case? Yes ____ No ____

59. Have you read, seen, or heard anything about the “Proud Boys”? Yes ____ No ____

       a. If yes, how do you feel about their stance? ___________________________________

           ____________________________________________________________________ 9


       b. If yes, when did you learn about them? ______________________________

       c. How would you describe the “Proud Boys”? _______________________________ 10

60. Have you read, seen, or heard anything about the “Proud Boys” that would affect your ability
    to be a fair and impartial juror in this case? Yes ____ No ____

61. Positive or Negative feedback about the organization: ______________________________

    __________________________________________________________________________

62. Did you watch any live news coverage of any events pertaining to the “Proud Boys”?
    Yes ____ No ____

63. Have you watched or read news coverage of any events regarding the “Proud Boys”?
    Yes ____ No ____

64. Do you anyone that has been affected in one way or another regarding issues discussed by the
    “Proud Boys”? Yes ____ No ____

65. Can you separate those thoughts, listen to the evidence in this case and make a finding based
    on the rule of law and the evidence presented in this case? Yes ____ No ____

66. Do you know the names of any if the “Proud Boys”? Yes _____ No _____




8
  The government objects to the portion of Question 57 calling for a narrative response.
9
  The government objects to the portion of Question 59 calling for a narrative response.
10
   The government objects to the portions of the Question 59 calling for narrative responses.
Furthermore, part (a) is unclear in that “their stance” is not defined.


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                                                                          Juror Number ________


           Did you watch any of the 2020 Presidential debates between Donald Trump and Joe
           Biden? _____Yes         No. If so, do you recall any mention of the Proud Boys by the
           candidates? If so, what was your reaction to the candidates’ comments? 11

67. Have you read, seen, or heard about any allegations regarding the defendants—Enrique Tarrio,
    Ethan Nordean, Joseph Biggs, Zachary Rehl, or Dominic Pezzola—in this case?
       Yes ____ No ____

68. Have you read, seen, or heard anything about the defendants— Enrique Tarrio, Ethan Nordean,
    Joseph Biggs, Zachary Rehl, or Dominic Pezzola —that would affect your ability to be a fair
    and impartial juror in this case? Yes ____ No ____

69. Do you associate the “Proud Boys” with Donald Trump? Yes ____ No ____

70. What role, if any, do you think the “Proud Boys” played in the connection with January 6,
    2021? _____________________________________________________________________

      __________________________________________________________________________
      12



71. Have you read, seen, or heard anything about “Black Lives Matter (BLM)”?
    Yes ____ No _____

72. Do you think BLM is a legitimate organization? Yes ___ No ____

73. Do you feel strongly about the “Black Lives Matter” movement? Yes ____ No _____

74. Have you ever donated to BLM? Yes ____ No ____

75. Have you ever posted anything in support to BLM? Yes ____ No ____

76. Have you ever attended a rally, protest, demonstration, or march regarding Black Lives Matter?
    Yes ____ No ____

77. Do you or anybody in your family attend the Asbury United Methodist Church?
    Yes ____ No _____

78. Did you hear or read about the burning if the “Black Lives Matter” banner at the church?
    Yes____ No ____




11
     The government objects to Questions 61-66.
12
     The government objects to Questions 69 and 70


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                                                                          Juror Number ________


79. The fact someone may have burned the “Black Lives Matter” flag, would that your decision
    making in this case? Yes ____ No _____13

80. Have you ever posted anything on your social media regarding political issues (i.e. Black Lives
    Matter or Antifa)? Yes ____ No ______

       a. If so, when and on what social media: ______________________________________

______________________________________________________________________________

81. Were you active on relaying your position to people’s comment? Yes ____ No _____

82. Do you believe that people should be criminally punished for holding views that are regarded
    as racist or sexist? Yes ____ No _____14

83. Have you read, seen, or heard anything about “Antifa”?
    Yes ____ No ____

       a. What are your feelings regarding “Antifa”? _________________________________

____________________________________________________________________________ 15

84. Have you read, heard or seen anything about the "Oath Keepers"? 16

     Yes _____ No _______

85. Have you read, heard or seen anything about the "Three Percenters"?

     Yes _____ No _______


86. Have you read, heard or seen anything about the "Patriot Front"?

     Yes _____ No _______




13
   The government objects to Questions 71 though 79. The government would not object to a more
limited question that does call for a narrative response, such as: “This case may involve evidence
that the defendants expressed hostility toward ‘Black Lives Matter.’ Do you have any beliefs
about ‘Black Lives Matter’ that would make it difficult for you to be a fair and impartial juror in
this case?”
14
   The government objects to questions 80 through 82.
15
   The government objects to the portion of Question 83 calling for a narrative response.
16
   The government objects to questions 84 through 88.


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87. Other than Antifa, Proud Boys, Oathkeepers, Three Percenters and Patriot Front, have you
    read, heard or seen anything about any other group you think may have been involved in the
    events of January 6, 2021?

   Yes _____ No _______

88. If the answer is yes, please try to remember the names of these other groups and list them
    below as best you can:


_____________________,

_____________________,

_____________________,

_____________________,

_____________________,

_____________________,

_____________________,

_____________________.

89. In your view, is the idea of all-male/male-only organizations, male fraternities or "men's
    groups" offensive or inappropriate to you in any way ?

   Yes _____ No _______       ___________


90. Have you read, seen, or heard anything about “Veterans for Trump”?
    Yes ____ No ____

       a. What are your feelings regarding “Veterans for Trump”?________________________

_____________________________________________________________________________

91. Have you read, seen, or heard anything about “Roger Stone, Steve Bannon, Stewart Rhodes,
    Latinos for Trump or Veterans for Trump
    Yes ____ No ____

       a. What are your feelings regarding “Roger Stone, Steve Bannon, Stewart Rhodes,
          Latinos for Trump, or Veterans for Trump? ____________




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____________________________________________________________________________ 17

         EMPLOYMENT WITH LAW, LAW ENFORCEMENT, AND THE COURTS

92. Have you or a close friend or family member ever worked in any aspect of the legal field as a
    lawyer, prosecutor, criminal defense attorney, legal secretary, paralegal, court reporter,
    investigator, law clerk, judge, etc.? Yes ____ No ____

93. Have you or a close friend or family member ever applied for employment with, were
    employed by, or received training by any local, state, or federal law enforcement agency?
    Yes ____ No ____

94. If you answered yes to questions 50 or 51 would any of those experiences affect your ability
    to be a fair and impartial juror in this case? Yes ____ No ____

95. Several witnesses in this case will be law enforcement officers. You will be instructed that the
    testimony of a law enforcement officer is to receive no greater or no lesser weight simply
    because that witness is a law enforcement officer. Would you have any difficulty in following
    that instruction? Yes ____ No ____

                       EXPERIENCE WITH CRIME AND VIOLENCE

96. Have you or a close friend or family member ever been the victim of a crime, reported or not?
    Yes ____ No ____

97. Have you or a close friend or family member ever been a witness to a crime, whether or not it
    was reported to the police? Yes ____ No ____

98. Have you or a close friend or family member ever testified as a witness in any court
    proceeding? Yes ____ No ____

99. Have you or a close friend or family member ever been arrested, charged, prosecuted, or
    convicted of any crime other than for a traffic violation? Yes ____ No ____

100. If you answered yes to any of questions 96-99, would that experience affect your ability to
   be a fair and impartial juror in this case? Yes ____ No ____

                                     LEGAL PRINCIPLES

101. An indictment is not evidence. It is a document that sets forth the charges made against
   the defendant; it is an accusation. It may not be considered as any evidence whatsoever of a
   defendant’s guilt. Can you think of any reason that would interfere with your ability to follow
   and apply this principle of law? Yes ____ No ____



17
     The government objects to Questions 90 and 91.


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102. The United States has the burden of proving its case beyond a reasonable doubt as to each
   defendant and each individual count on the indictment separately. The defendant is not
   required to prove his innocence.

       a. If the United States proves a defendant’s guilt beyond a reasonable doubt, the defendant
          must be found guilty. Can you think of any reason that would interfere with your ability
          to follow and apply this principle of law? Yes ____ No ____

       b. If the United States fails to prove a defendant’s guilt beyond a reasonable doubt, the
          defendant must be found not guilty. Can you think of any reason that would interfere
          with your ability to follow and apply this principle of law? Yes ____ No ____

103. Under the law, a defendant accused of a crime can be found guilty of an offense committed
   by another member of the conspiracy if the defendant was a member of the conspiracy when
   the offense was committed and if the offense was committed in furtherance of, and as a natural
   consequence of, the conspiracy. Can you think of any reason that would interfere with your
   ability to follow and apply this principle of law? Yes ____ No ____

104. Under the law, a defendant accused of a crime does not have to testify in his or her defense.
   If a defendant does not testify, the jury may not consider that fact in any way in deciding
   whether a defendant is guilty. Can you think of any reason that would interfere with your
   ability to follow and apply this principle of law? Yes ____ No ____

105. The charges in this case include seditious conspiracy, conspiring to obstruct an official
   proceeding, obstructing an official proceeding, conspiring to prevent an officer from
   discharging their duties, destroying government property, committing civil disorder, assaulting
   officers, and aiding and abetting. Is there anything about the charges, without more, that might
   affect your ability to fairly evaluate the evidence or determine whether the government has
   proven a defendant’s guilt beyond a reasonable doubt? Yes ____ No ____

106. Jurors are the sole judges of the facts. However, the jury must follow the principles of law
   as instructed by the judge. The jury may not follow some rules of law and ignore others. Even
   if the jury disagrees or dislikes the rules of law or does not understand the reasons for some of
   the rules, it is their duty to follow them. Do you have any personal beliefs that would make it
   difficult to follow the Court’s legal instructions? Yes ____ No ____

                                 CONCLUDING QUESTIONS

107. If you were selected to serve on this jury, would you consider and respect the view of other
   jurors even if their views differed from yours, in accordance with the Court’s instructions?
   Yes ____ No ____

108. If, during the course of jury deliberations, a fellow juror should suggest that you disregard
   the law or the evidence and decide the case on other grounds, would you, as a juror, be able to
   reject that suggestion and abide by your oath to this Court to decide the case solely on the



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   evidence and law as the Court has instructed you to do, without regard to sympathy, bias or
   prejudice? Yes ____ No ____

109. Were there any questions in this questionnaire you did not understand?
   Yes ____ No ____

       a. If yes, please list the question numbers:

   ___________________________________________________________________________

   ___________________________________________________________________________



110. Is there anything beyond the points covered in this questionnaire that creates a question in
   your mind as to whether you could be a fair, objective, and impartial juror in this case?
   Yes ____ No ____

       a. If yes, please describe:

   ___________________________________________________________________________

   ___________________________________________________________________________




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                                       CERTIFICATION

         By signing below, I hereby declare under penalty of perjury that all of the answers to the
above questions are true and correct to the best of my knowledge and belief. I have not discussed
my answers with others, or received assistance in completing the questionnaire. I have answered
all of the above questions myself.


       ___________                           _____________________
          Date                                     Juror Number




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                                      ATTACHMENT A

       The following people may either be witnesses in this case or individuals who may be
discussed during the trial. Please review the list and identify any names that you recognize.




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